                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF MISSOURI
                                   WESTERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
                                 Plaintiff,      )
                                                 )
                 v.                              )       No.07-00187-09-CR-W-NKL
                                                 )
DANTE CARDILLO-RENDON,                           )
                                                 )
                                 Defendant.      )


                                REPORT AND RECOMMENDATION
                                 CONCERNING PLEA OF GUILTY

         The Defendant, by consent, has appeared before me pursuant to Fed.R.Crim.P. 11, Local Rule

72(j)(26), and 28 U.S.C. § 636, and has entered a plea of guilty to Counts 4 and 12 of the Indictment.

After cautioning and examining the Defendant under oath concerning each of the subjects mentioned in

Fed.R.Crim.P. 11, I determined that the guilty pleas are knowledgeable and voluntary and that the

offense charged is supported by an independent basis in fact containing each of the essential elements of

such offenses. A record was made of the proceedings and a transcript is available. I therefore

recommend that the pleas of guilty be accepted and that the Defendant be adjudged guilty and have

sentence imposed accordingly.

         Failure to file written objections to this Report and Recommendation within ten (10) days from

the date of its service shall bar an aggrieved party from attacking such Report and Recommendation

before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).


                                                          s/ SARAH W. HAYS
                                                         SARAH W. HAYS
                                                         United States Magistrate Judge
Dated:    March 12, 2008




         Case 4:07-cr-00187-NKL           Document 164         Filed 03/12/08      Page 1 of 1
